                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                NORTHERN DIVISION

                                      NO. 2:18-CR-37-FL-1


 UNITED STATES OF AMERICA                        )
                                                 )
                                                 )
       v.                                        )
                                                 )                     ORDER
 CHARLES ANTHONY WALKER, JR.                     )
                                                 )
                         Defendant.              )
                                                 )


        This matter is before the court on defendant’s pro se correspondence regarding counsel and

the merits of his case. (DE 337, DE 338). To the extent defendant seeks reconsideration of the

court’s July 20, 2020, order denying defendant’s pro se motion to appoint new counsel, defendant

has not demonstrated a basis for reconsideration. With respect to the remainder of the issues raised

in defendant’s correspondence, where defendant is represented by counsel, and arraignment is set

for the September 15, 2020, term of court, defendant is DIRECTED to cease pro se correspondence

directly with the court. Defendant shall act only through appointed counsel and not persist in

writing to the court directly.

        SO ORDERED, this the 3rd day of August, 2020.



                                                             _____________________________
                                                             LOUISE W. FLANAGAN
                                                             United States District Judge




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